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                  IN THE TINI-t[II) STAI'ES I)ISI'RICT COI.'R'I' FOR THIi

                           WES'I'ERN DISTRI("I' OF OKLAH()}III


 UNITED S'I'ATES OF AMERICA,                      )
                                                  )
                          Plainliff.              )
                                                  )
                  -l's-                           )       No. CR-2d-{52-D
                                                  )
JESSE ALEXANDER BEATY.                            )
                                                  )
                          Defendant.              )


                                       PLEA AGRT]T-ME\T

                                          Introduction

        l.        'l'his Plea Agrccnrent. in conjunction s.ilh
                                                                    a plea Supplement filed
contemporoneouslv under scal. contains lhe cntire agreemenl hctrveen Defentlant Jesse

Alcxandcr Ilcatl. and thc I Inircd states conccrnirrg Def'endant's plca ofguilry' in this case.

No other agrccmenl or prorrrisc exists. nor rna) an). additional a-ereement be cntcrcd into

unless in s riting and signcd hv all partir,-s. An\. unilatcral nrodilication ot' rhis plea

Agreenrc'nl is hcrcbl' rcjecretl h1,the Ilnircd sratcs. 'ltis l,lca Agrr'cnrent applics onll,to

the criminal violations dcscrihcd and docs not appl\. to anr. civil manr.r or unr. cir.il

lirrlbiture procccding r.\ccpt as spccilicalh scr lirrth. I'his I)lca nsrcenrenl binds onlr.the

llnited Statcs Att<lrncv's ollicc lur the Wcslcrn I)istrict ol'()klahorna and docs not bind

an' other llrlcral. state. or ltrcal prosccuting. adnr inistratir.c. or regulaton. uuthorir].. Il.

I)cfcndant docs not acccpt rhc tenns ol'this I)lca Agreerrrcnr lx..lanuary 7,202s.thr.
                                                                                            oft.er

is rvithdlau'n.
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                                              (iuil   Plca

         2.        I)ell'ndant agrees lo enter a plca ol'guiltv to Counts 2 and 3 ofthe Indictrnent

 in Casc Nurrthcr CR-2-I-452-D. Counls 2 antl 3 hoth charge Defcndant sith posscssion ol'

 stolcn lircarms. in violation of l8 tJ.S.C. S gll(i). li)hclirundguiltl.ofviolating            II Ll.S.C.
 S 922(i). as charged in Counls 2 and 3 ol'thc Indictmcnt. l)efbndant must admit. and docs

 admit. thut bct\\'cen on or about Februa4 l5. 2024. rhrough on or about March 6. 202.1. in

 thc wcstcrn I)istrict of oklahoma: (l ) l)cll.ndant knouingly and intentionallr. posscsscd

 stolen lireanns: (2) I)elbndant knerr or had rcasonahlc causc to belicve that thc lircanns

 had bc'cn stolcn: and (3) the firearms $erc in and alll.ctine interstate commcrcc.

                    Ilaximum Penaltr'. Restitution and Snecial                     etrt

        3.        'lhc maximum penaltl that
                                                could bc inrposed as a rcsult ofthis plca r. counl

? of thc Indicunenr is ren ( I 0) 1'ears ol' imprisonnrcnt. a tinc of $250.000.00. or both such

linc and imprisonlnent. as rvell as a mandalon, special asscssment of $100.00 and a lcnn

ofsupcn,iscd rclcase of lhrec (3 ) ).ears.

        'l'hc
                marinrum penalD' that could bc irnposcd as a result of this plca t. Count i ol

thc lndictnrcnr is re.n ( l0) r'cars ol imprisonmcnt. a Iinc ot'5250.000.00. or both such
                                                                                                      linc

and imprisonrncnt. as $ell as a mandaton' spccial asscssnrcnt of s100.00
                                                                                          and a term ol-

supcn,iscd rclcasc ot'thrcc (_l ) ),ears.

        I)cl'cndant is plcading guilrl. to multiplc counls .r' con'iction. and r)crl.,rlant

ulltlcrslallds that the ('ourt tnal' imposc lhe scntcncc as to cach
                                                                          courrl to run conscculivcl.\,

l() ()llc all()lhcr. so lhat thc lotal imprisonnrcnl th r I)r,-lcndant
                                                                         mav lircc is
                                                                                        -urcatcr thirn thc
nrasinrunt punishntcnl lor an1. onc ol'll.nsc.



                                                  l
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         .1.     ln adclition lo the punishmcnt describcd abovc. a plea of guiltv can al'l'ect

 imrnigration status. lf Defendant is not a citizen ol'the llnitcd States, a guilrl.plca rnay

 rcsult in deporlation and rcmoval lionr thc tlniled Statcs. nla) prevent Dcll'ndant liom cr'er

 latvt'ulll rccntcring or rcmaining in thc tlnitcd Stalcs. and ma1. rcsult in thc dcnial ol

 naturalization. Further. if l)el'endanl is nol a citizc'n ol'thc (Jnited Statcs. Dr".l'cndant

 knos'inglv and urlunrarilr *air,r's unr right. pursuant t, II tl.s.c. $.ll00. cr scq.. ro

 request to lransli:r sen'ice ofan] sr'ntcncc of irnprisonnrcnl or part thcrcol- to l)clcndant's

 homc counln . Il'l)e lendant is a naturalizcd citizen ol'thc Unitcd states. a guiltl plca ma1

 rr'sult in dcnaturalization.

        5.      In addition. the coun must ordcr thc pa\ mcnt olrcstitution to an\' \.ictim(s)

ol'rhc of!'ensc. pursuanr to l g tt.S.('. NN 3663(a)(3) and 3663A. rhe parlics tgrce rhal. as

pan ol thc scntcncc resulting tiorn l)ctt'ndant's plca. thc court will entcr n ordcr of

restilution to all victirns of Delbndant's rclcvant conduct as dctermined bv rcll.rence to the

tlnited Statcs Scntcncing (iuidclincs (thc ..Guidelincs").

        6.      I)clcndant agrrics lo par an' special asscssnrcnt(s) to rhc orlicc ol'thc coun

clerk irnmcdiatcll' tbllol in-e scntcrrcing. Delbndant undcrslands lhar an1, Iine or
rcstitution ordcrcd hr the courl is inrnre-tliatcll duc unlcss thc ('ourt providcs
                                                                                     lirr pal,ment
()n a date cerlain or in insralhnL-nls. ll' thc
                                                  courr irnp.scs a schedule lirr pa_r rncnt ol'
lcstitrrti0n. l)cll'ndant agrces thut srrch a schedulc rcprcscnts a nrininrunr pa'nrcnt

ohlieation and docs nol prccludc the t hitcd statcs Atk)nr$'s
                                                                  olicc liorl ;rursuing olher
ntcans hI $trich to satisli' l)ell'nrllnt's lirll and intntcdiaklr.
                                                                        enfbrccahlc linancial
.bligalions. I)cll'rrdant acccpls a continuing obligatiorr l. pal in l'ull. as s..'as
                                                                                        possible.
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an)' linancial ohligalion irnposcd hl the ('ourl. l)elbndant fuflhcr undcrstands that a lbilurc

to ahide h) thr". lerms of cnl' rcstitution schedulc inrposed bv thc Court nral'rcsuh in tirrlher

Bclion b) thc (i)url.

        7.     lior ccrtain statuton oll'cnses. thc ('ourt musl also imposc a tcmr of

supcn'iscd relcasc. shich l)cltndant sill begin to scrvc alier bcing rclcased fi.om custodl .

For all other olTenscs. thc ('ourt nral- inrpose a tcnn ol' supcn iscd rclcasc to bc sen sd

lbllorving relcase liom custodl . I)uring the tcrm ol'supcniscd rclcasc. I)eltndant uill bc

suh.icct to conditions lhal \yill include pruhibitions against violaling local. slate. or fedcral

larv. rcport ing requiremcnts. rcstrictions on travel and rcsidcnce. and possihlc tcsting lbr

controlled suhslancc usc. If l)cfbndant violatcs lhc conditions of supen'ised release. the

Court mal revoke [)ef'end:rnt's supcn'ised relcase and scntencc f)e[tndant to an additional

tcmt ol' intprisonmcnt. Ihis additional tr'rnl of imprisonmcnt s'rxrld he scn'ed u'ithoul

credit for the time l)efcndanl succcssfulll spcnt on supcn.iscd relcasr,.. When conrbincd.

the ori-einal rcml ol' imprisonrnent and anl subscquent tenn of irnprisonmcnt thc court

imposcs nra-r'cxcecd lhc statuloD nraxinrum prison tenrr allo$.ahlc lbr thc olll'nsr,..

                                    Financial Disclosures

       8.      l)cfendant agrL-cs to disclosc all asscts in lhich Dcl'cndant has anr, iltcr.cst

or over rvhich l)ellndant cxercisc-s control. tlircctlv or indirectll'. including those hcld h;- a

spottsc. notttincu. ot' nl rrthcr thinl parh   . t lpon rcqucst bv the t tnitcd Stalcs. I )cl'cndant
agrccs (I) to colnplctr,'truthltrlh and sign untlcr pcnaltr ol'pcrjun a liinancial Statenrcnt

ol'l)cbtorhv thc chanse-ol'-plca heurinr. ora date oth!-rs isc agrec<l tohl thc Ilnitctl Starcs.

 ntl (2) ttr pror ide trpdatcs \\ ilh aDr nralcrial chan-ucs in circunrstanccs. as dcscrihed in l8


                                                 l
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 ( I.S.C.        -166.1(k). s'ithin sevcn davs olthc cvcnt giving risc lo such changcs. I)ct'cndant
            "s

 undcrstands that thc Uniled Statcs uill take l)e'fcndant's compliancc rvith thcse rcqucsts

 into accounl rvhen it makcs a recommendulion to the Court n.garding l)e{'cndant's

 acceptancc of rcsponsibilitl .

         9.              I)cfcndanr also cxpressl5 aurhorizes thc tInitcd Srates Atlomc\.'s ()llicc to

 obtain a crcdit rcporl on Dettndanr. in ordcr to evaluate Del'cndant's abilitl.to satisf,'anv

 linancial obligations irnposcd bl rhc court. Finalll. Dclbndanr agrccs to notifi' the

Irinancial l-itigalion Program ('l:1.P") of the t Inited srates Auomer.'s ollicc and to obtain

pcrmission from lil.P bctbrc Dcl'cndant transl'ers anf inlcrcst in propcrtl.n.ith a valuc

excr'cding s I .000.00. os'ncd dirccrll . indircctll'. individualll.. or ioinrll. bl Dcl'endant.

including anf intercst hcld or owncd undcr an1. namc. including trusls. partnerships. or

corporutions. Del'cndant ackno$ ledges a continuing obligation to noti$, and obrain

permission fiorn ljl.P lbr an1' transflcrs ol' thc abovc-dcscribed propert), until t'ull

satisfaction ol'an) r!-stitution. linc. spccial assessrncnt. or other linancial obligations

irnposcd by thr. Court.

                                                     Forfeiture

        I0.         l)cfendant agrces 1o lbrl'eit to thc tlnited Slalcs lolunrarill,and irnnrediatclr.

all ol'l )cll.ndanr's right. ritlc. and inrcrcst in and to all assers l,hich
                                                                                are suh.iect to lirrlbiturc

pumuont to l8 ll.S.('. N 924(d) ilnd llt Ll.S.C.
                                                          N 2.161(c). inclutling hut not linrired to:

                    ir.       a Srnith & Wesson. nl()dcl Sl)J0 Vl:. ..10 calibcr pistol.
                                                                                           hcaring serial
                              nunrber II)[ l85ll0:

                    lr        a Radical I;ircanns. nrodel Irl{-15. nrulti_calibcr rilie.
                                                                                           hcarirrg scrial
                              nunrhcr 2-(Xt2776:
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                   c      o Smith & \\'essorr. nrodel Sl)9. 9rnnt calibcr pistol. bcaring scrial
                          numhcr FDW.l30ll:

                   (l     xn Arms ('()rp. ol'thc l)hilippinr.s lRrrck lsland ,\rmoD ). rnodcl \.ll9l l .\l-
                          l;S. ..15 calibcr pistol. bcaring serial nunrht'r Rl;\2370(r(r-5:

                  e'      .l FMK l'ireamts. nrodc'l 9CI G2. gmm caliber pistol. bcaring scrial number
                          Illl25074: and

                   l'.    any and all amnrunition and nragazincs not specillcallv tistcd.

 Defbndant agrces that thc listc'd asscls r\'!-re involved in thc violations lo \r.hich t)ef'endant

 is pleading guilt1..

         I   l.   l)cll'ndarrt knorvingll'antl voluntaril-"- rvaivcs l)cfbndant's right to ajury trial

 on the lbrlbiturc ol'asscls. Dclbndant knosingll and \oluntaril) uaives all conslitutional.

 legal. and cquitablc de'lt'nses to thc lirrl'citurc ofthese asscts in anl.proceeding. and funher

 rvaivcs an1' claim or defbnse undcr the Eighth Amcndment to rhc united stares

Constirution. including an1' claim ol'cxccssile fine. to thc lirrlbiture or rlisposilion trfasscts

bl the Unitcd Statcs. lhc Statc of()klahonra. or its subttivisions. Def'endant knorr.ingll.and

volunlaril) c(nscnrs to the entn ol'a linal order ol' lirrlliture beforc sentcncing as to

Dclbndant's inlcrcsl in lhc asscts. l;orlbiturc of Deli.nrlanl's assets
                                                                                  shall nol bc trcatcd as

sarislhctiul or'anl rinc. rcstitutiol. c.st .t' impris.nnrcnl. or an). other pcnaltl.
                                                                                                  thc coun
rnav imposc uprnr l)ct-cndant in addiriorr to ltrrf.eiturc.

        l:.       l)oll'rrdanr knrxringll anrl t.oluntarih. *aivcs anr. right
                                                                                              to appcul ()r
collateralll alt.ck an]' matter i, c(nrnccrion *ith trrc *rrl'citurr.
                                                                                  pro'idcd rirr rrcrci'.
l)cll'ndant rr.i'es I)cll.ntl.nr's rirhr t. norict o1'anr. lirrl.r,,iturc
                                                                            proccr.ding and aqrccs not

1o lilc a clairrr trr trrc ab.r'c-ristcd pr()pcrt\ ()r propcrt]
                                                                  ir^ ,rr cd in thc undcrrl.ing crinrinar


                                                    (,
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 conducl. or othunr isc contcst li)rl'cilurc in an)'civil. adnr inistralive. orjudicial procecding

 lhat nlav hc initiatcd. l)cl'endant lfurther agrecs not t() assist others in t'iling a claim in a

 lirrfeiture proceeding or othenvisc assist othcrs s'lxr challcn,uc u lbrfeiture action in\'oh,ing

 thc abo'e-listcd propcrt) or propcrt) in'ol'ed in thc undcrll ing criminal conduct.

 l)el'endant also roluntarill' and irnmcdiatcll' uaives all right. titlc. and inlercsl in and to rhe

 ahove-listed propcrl! in order that appropriatc disposition nral'he madc b'r,thc appropriatc

 l'ederal or statc lau cnlbrccment agcnc\'.

                                        Sentenciug Guidelines

        13. 1'hc pa(ies acknou,lcdgc rhal I8 LJ.S.C. S 3553(a) direcrs thc (.ourr ro
 consider certain l'acton in imposing ssntcnce. including thc (iuidclines promulgarcd h1.the

 l lnited States Scntc-ncing commission. ('onsequenth.. although rhe panies recognize
                                                                                                   that

thc Guidelines arc tlttll' advisotl . thc) havc entcred into cenain stipulations an4 agreements

$'ilh respcct to thc Guidelines. llascd upul the intirrnration knotn ttr thc parlics on the

datc that this Plca Agreement is crccutcrl. the\. expccl r. takc. but are nor limircd
                                                                                                to. the

l-trllorving positions al sentencing:

               a.      'r'hc partics
                                       agrcc l)r,'f'endant sh,ukl rccci'e a t*.o-rc'cr dorvn*,ard

ad.iuslnrent lirr l)cll.ndant's acccprance.l'rcsp.nsibilitl.. pursuiulr
                                                                        to u.s.s.(;. s.ll.ll.l(a).
il'I)efendant commils no r'urthcr crirncs. does nol lirlsch. den1. or liir.plousl'
                                                                                              contcst
rclcvant conduet. rrrld lirlll. comPlics s ith all other tcnrs
                                                                 ol'this plca Agrecrrrcnl. ljurther.
il'thc Cotrrt applics lhat llo-lscl dorrrnrard ad.iustrncnl.
                                                                  l1c t tnircd States sill rrror.c lirr
an additional onc-r*'cr d()\\''\'ard arliusrr,cnr under
                                                           Ir.S.S.(i. s 3ril.r(h) ir.ir dctcnnines
that I)ell.rrdarrr qualilics lirr lhc adtlirional adjustnrsnr
                                                                    hased on thc rirnclincss ol_


                                                 7
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 l)cfenclant's acccptance ol'this Plca ngrccnrcnt and oiher appropriatc consideratigns in

 t l.S.S.(;. g 3l:   l.l and its application notcs.
                     b.     l'he parties agrcc and stipulate that I)cfcndant's relcvant con{uct does

 not suppol't thc application of an1 rolc enhanccmcnt pursuant ttr tJ.S.S.(i.                 3$   l.l or a
                                                                                         "s
 mitigating role rcduction prrrsuant to tl.S.S.(i. rs 3B 1.2.

         Apart ti'onr ant exprcsscd asrcclncnls and stipulations. thc parlies rcsen c thc right

 Io advocatc ftx. and prescnl evidcncc rr"'lcvant to. other (iuidclines adjustrnents and

 sentencing lhctom lirr consideration h1,the tlnitcd Starcs probation Officc and thc Court.

         l'+. The parties ha'e entcrcd into this plca Agreenrcnt under rhc pro'isi.ns ol'
 Ijcderal Rules ol' Criminal Proccdure ll(cXlXA) and ll(cXlXB). t)cl'endant

 acknorvledgcs and understantls thal thc'Court is not bounrl bv. nor obligated ro
                                                                                         accepl. these

slipulations. agrccments. or rr.commcndations of the t Initcd Sratcs or l)cl.endant.
                                                                                                     And-

cvcn il' thc court rejccls one or m()rc ol thcse sripulations. agrcemcnts. or

recommcndations. that facl alonc $uuld nol allo\' Dcl'endant to $ ithdra$
                                                                                     I)cll.ndant.s plea

ol'guiltl . I lpon l)el'cndant's signing ol'this l)lca Agrccment. rhc Llnitcd Statcs
                                                                                              inrcnds to

cnd ils invcsligation oftht'allcgations in the Indictnrerrt. as to I)ell,ndant.
                                                                                     cxcept ins.lar as

rc<;uirc'tl to preparc lilr lurthcr hcarinlrs in this case.
                                                              including hut not limircd to scntcncing.

andlopr.sccuL'.thcrs.il-an).inr.lr.cdinl)cll'rrdanl'sconduct..l.hetlnitcdSralcsalrees

Io cnd anf invcstisation dircctcd spcciricarh.at rhc ri)rcgoing
                                                                         slipuratiols. agreeurcnrs. or
rcc.mnlcn(lations .s r0 I)eri'ndant. ll.r'e'cr. suhject to
                                                                    the rcn.s antl conditi.ns .l. this

I'h;a Agrccrncnt and Prc'a Supprcnrcnt. thc t Inited
                                                           Statcs cxprcssrr rcsen.cs thc righl tolakc

positions thal deviatc liom the lirrcgoing
                                                sripulations. agrccrrcnls. or rL,conlnrcrrdat ions
                                                                                                       in


                                                      IJ
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 tlrc cr cnt that nraterial crediblc cvidcncc requiring such a dcr iatirur is tliscovcred during

 lhc course ol'its investigation alicr thc signing ol'this Plca ngrccmcnl or arises liom

 sourccs indc'pcndcnt of thc I Initcd Statcs. including the Llnitcd Statcs Probatiorr Ofljcc.

                \\'aiver of Ri ! t to ADneal and Brinc Colla leral Challcnse

        15. l)cl'cndant undcrstands lhat lhc Court s'ill considcr thc lactors sct tbrth in ltl
tl.S.('. $ 35-s3(a) in detennining Def'cntlant's scntcnce. Dcll.rrdant also understands that

thc ('ourt has .iurisdiction anrl authoritr to imposc an.\' scntL.ncc rvithin the statuton

tnaxinrum lbr thc oflensc(s) to u'hich I)ctl'ndant is pleading guiltl. I)cli'rrdanr llnhcr

undcnitands that 2tl LI.S.c. g I 291 :rnd I tt ( i.s.c. g .i7.12 ,eive I)cll.ndanr rhc right ro appeal

the.iudgment and sentcnce imposc'd h} rhe court. Ackno*'lcrlging all ot'this. and in

cschange lirr rhc promiscs and concessions madc h), thc tjnited States in this lrlca

Agrecment- l)ctl'rrdant knorr ingh and vrlunlarilv r'ai'es thc lirllos ing rights:

               a.      Delbndanl rr.ai'cs thc right t, appcal Dcfcndant.s guiltl,plca. anrl an'

olhcr aspecl ol' l )cli'ndant's conviction. including hut not linrircd trr an1. rulings on prcrrial

supprcssion rnori.ns or an' oth.]r prctrial dispositions of motions and issucs:

               b.      Escept as statcd inrmcdialclv bclorr-, Dcll.ntlanr s air.cs the righr t.

appcal Defcndant's sentencc. including an) rcstitulion. and thc manncr
                                                                                      in rvhich thc
senlcncc is detcnnined. inclLrding its procctlural rcasonablencss. ll'the
                                                                                 scntencc is ah,r L,

the advison' ( iuitle.lincs ransc dctcnnincrl trl.the ('ourt t() appl.r.ro
                                                                             I)clbndant.s casc. this
rraivcr dot's ttttt includr' I)ct'cndant's right lo app!.ll the
                                                                  suhstantir.c. rcas.rrahlencss   .l'
l)cli.ndanl's scntencc:




                                                 9
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                  c.      I)cri:ndarrr *'ai'cs the right t. appear or co atera l. chaflcngc the

  lcngth and conditi.ns ol'supcrviscd rcleasc. as r'cll us an1.. scnlcncc inrp<lserl up.n a

 renlcalion ol' I )clL.ndant's supen,isctl rcleasc:

                 d.       Dell'rrdant s.ai'cs the righl t. collatcrall' challcnge or rno\.c lo

 ntodili' ( undcr 2ti I I.S.('. s\ 2255. l8tt.S.C.$3582(cX2).oranl.olhcrground)Dcl.endanr.s

 conviclion or sL.nlcncr'. includin-e un! rcstitulion. e)iccpt $.ilh rcspcct to claims ol

 inel'll'ctilc assislance ol'counscl. l his l'aivcr does not include l)cfcndant's abilitl, to lile

 a nrotion ltrr conrpassionatc release under I 8 t t.S.C. g 35g2(c)( I )(AXi). l)cl.endanr.

 horvcler. l'aives the right to appeal the rlcnial ol' an), motion liled under 18 u.s.c.

 s 3582(c)( l)(A)(i)\vherc such denial resrs in an]'part upon rhe cou(.s dctcmrination thar

 a senlcncc rcduction is nor Narranted under lactors sct forth in
                                                                           lg tJ.S.c. $ 3553(a).
        Dcll'ndant ackn.* rcdges that thesc r'air.crs rcmain in rirll cfrect and
                                                                                                        are

 enlbrceahlc. cvcn if thc ('ourt rciecls ol.lc or rnore ol'rhe positions
                                                                                  olthc t]nited States or
Delbndant sct forth in puragraph 13.

        16. Exccpt as stated inrmcdiatcll bcro*.. thc ti,ited statcs agrccs to rvaivc its
right undcr l8 lr.s.c. s\ -r 7-12 to appcar the sent.''nce inrposcd
                                                                         h1. rhc court and the rnanncr

in rlhich lhc senlcnce rras dclcnnincd. ll'thc sentcncc is hclorr
                                                                              lhc advison. (iuidclincs
rangc dctcn,inctl hl rhc ('.urr l. rpprl in lhis casc- this *ai'cr
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       17   .   f)crl',dant r'ai'cs arr riglrts. * rrcther :rsscrted trirecrr.v
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  pcrtaining to thc ittvcstigittion or prosccution ()l'this cusc. including hlr not lirnitcd to

  rccords th r l)cl'cnrl nr mar scek undcr thc l:rcctlorn ol'lnlirnnation Act.5 ti.S.(..
                                                                                                      $ 552.

  or thc l'rivacr Act ol' I q7.1. 5 t I.S.('. { 51]a.

                                      Oblieations of Defendant

          18. l)eli'ndant shall conrnril no litrlhcr crimes. Should l)ell'n<tant cornrnit an1
  furthcr crinrcs. knorvingll'gilc I'alsc. inconrplete. or mislea<Iing testimony or inlirrmation.

 or othcr*'isc              an1 pr.r'ision ol'rhis plca Agrecnrent. thc United Statcs *.ill bc
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 releascd lronr an1' ohligaliorrs. agrccmcnts. or rcstricrions irnposcd on it undcr
                                                                                                  this plca
 Agrcelncnt. and thc tlnited States ma1'prosccute I)clbndanl lor anr.and all
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 l'edcral crirninal violations. including pcriury and ohstrucrion ol'.justice.
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                                                                                 the applic,ablc statulc ol.

 limitations on thu tlate .r'thc signing .l'this l)lca Agrecrnent rnar.
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 Del'endant. tlotrr ithstandin-u thc cxpiralion ol'thc. statute ol'lirnitations
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 of this I'lea Agrecnrt'nt antl the conrmencemcnr o,'that pR)sccution. I)cl-endant
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s'aiYcs all dcllnscs based ott th!'statute ol' lirnitatiorrs uith
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is not tinrr,.-haned on thc drlc that this l)lca ngrcctncnt
                                                                   is signed.

         l9'     Ihe parties ltlso rccognizc lhat il'thc ('ourt dctcnrrines
                                                                                     rhar Dcl.rndant h*s
r,iolatcd anr' provision ol'this plca Agrccrnctrf or
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[)cll'rrtlnnt's knor'ing anrr r.runtan guirtl.plca cntcred
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  lionr thosc' sl tcnrqnts or lcslimon\. shall hc adnrissiblc cr idr.ncc in an-r. crirninal
  proccctling hnrught against l)cll'ndant: and (b) l)cl'cndant shall asscrt no clainr un{sr t5c

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  I l(l). l;ederal Rulc ol'lllidcnce :l I0. or anv other lcderal rule or las,that thosc slalemcnrs

 or anY leads liom lhosc slatcrnents should bc supprcssed. I)r,'ll'ndant kno$.ingl1. and

 voluntarill' s aives [)ellndtnt's rights dcscribed in this paragraph as ofrhe tinrc I)efcndant

 signs this Plea Agreemcnt.

                                  obli    tions of the [. nit ed States

         20. It'l)ct'endant cntcrs a plca ol'-euiln as dcscribcd ahove and li.rll1. mects ull
 ohligations undcr this Plea Agrccmcnr. rhc t Initcd Sratcs rvill nrovc to dismiss ar sentencing

 ('ount I ofthc lndictment. as to I)elcndant. returncd on October
                                                                                  lS. 202,1. and the Llnitcd

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         Case 5:24-cr-00452-D         Document 44       Filed 01/22/25     Page 13 of 13




                                           Signalures

           22. lly signing this Plea Agreement, Delbndanr acknowledgcs that Dcfendant
    has discussed the tenns ofthe ['lea Agreement rvilh l)el'endant's attorney and understands

    and accepts those terms. Further, Dcl'cndant acknorvledges that this plea Agreement, in

    conjunction with the Plea Supplement filed contemporaneously under seal, contains the

    only terms of the agreement concerning Defendant's plea of guilty in this case, and that

    there are no other deals, bargains, agreemenls, or undersrandings rvhich modify or alter

these tenns

          I)ated this   L day of   a               ,2025.


                                                    ROI}ERT J, 'I'ROESl'ER
APP                                                 United Srales A o



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          nS ll. SNYI)l:l{                          STEI'HEN C. HOCII
       uty Chie[ Crirninal Division                 Assistant United Statcs Attomey
                                                    Western Districr ol Oklahorna
                                                    2 l0 l'ark Avenue, Ste. 400
                                                    Oklahorna Ciry. Oklahoma 73102
                                                    (405) 553-8736 (Oflice)
                                                    (40s) s53-8888 (FnX)



J      SE ALEXANDEIi I]EA I'Y                             E I}. PI    Lll,s
Def'endant                                          Attorney f'or    l'endant




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